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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

    UNITED STATES OF AMERICA,

          Plaintiff,

    v.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

          Defendants.
    ________________________________/




                       GOVERNMENT’S OPPOSITION TO WALTINE NAUTA’S
                        MOTION TO DISMISS THE INDICTMENT BASED ON
                          SELECTIVE AND VINDICTIVE PROSECUTION
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           Defendant Waltine Nauta seeks dismissal of the indictment or discovery based on claims

    of selective and vindictive prosecution. See Nauta’s Mot. to Dismiss for Selective and Vindictive

    Pros. (“Mot.”). 1 His claim of selective prosecution is grounded in comparison to two individuals

    who, like Nauta, were employed by codefendant Donald J. Trump but whose conduct was not

    remotely similar to his own. He therefore fails to provide apt comparators or any evidence that he

    was selected for prosecution over those other individuals for improper reasons. And his claim of

    vindictive prosecution amounts to the following: he did not accept the routine invitation in a target

    letter to appear before the grand jury, and thus his indictment must have been punishment for that

    decision. This novel and unsupported claim would render any recipient of a target letter immune

    from charges by the simple expedient of declining the offer. Nauta’s arguments are without merit

    and should be denied.

                                            BACKGROUND

           As alleged in the Superseding Indictment, during his presidency, Trump used boxes to

    accumulate and store records, accumulating dozens of these boxes by the end of his presidency.

    ECF No. 85 ¶¶ 1-3. At the end of his presidency in January 2021, scores of these boxes were

    removed from the White House and transported to Trump’s residence at Mar-a-Lago, where they

    were later placed in a storage room.        Id. ¶ 4.   When the National Archives and Records

    Administration (“NARA”) requested records from Trump’s administration, Trump wanted to

    review his boxes before providing them to NARA, and between November 2021 and January 2022,

    employees (including Nauta) brought boxes to his personal residence in Mar-a-Lago for him to

    review. Id. ¶¶ 39-46. On January 17, 2022, Nauta and another Trump employee gathered 15 boxes

    from Trump’s residence and handed them over to NARA. Id. ¶ 47. After NARA found highly



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               Nauta’s motion has not yet been docketed publicly or received an ECF number.
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    classified documents in the boxes and informed the Department of Justice, a grand jury issued a

    subpoena for all documents with classification markings in Trump’s possession. Id. ¶¶ 49-53.

    Trump met with his lawyers to discuss the subpoena on May 23, 2023, and a lawyer returned to

    Mar-a-Lago on June 2, 2023, to search the boxes in the storage for responsive documents. Id.

    ¶¶ 55-65. On June 3, 2023, the lawyer provided a folder of documents with classification markings

    to FBI agents, along with a certification indicating that the folder contained all responsive

    documents. Id. ¶¶ 65-72. After a grand jury issued a subpoena for security footage from Mar-a-

    Lago, and that footage showed Nauta moving boxes out of the storage room after the grand jury

    issued the subpoena but before Trump’s lawyer reviewed the boxes in the room for responsive

    documents, FBI agents obtained and executed a warrant to search Mar-a-Lago, finding more than

    100 additional documents with classification markings. Id. ¶¶ 59, 88-90.

           The Superseding Indictment alleges that Nauta participated in these events at several

    critical moments. Nauta served as a valet for Trump during his presidency and then as Trump’s

    “body man” post-presidency; he reported to Trump, worked closely with Trump, and traveled with

    Trump. Id. ¶ 9. Nauta helped Trump pack his boxes for his move out of the White House at the

    end of his presidency in January 2021. Id. ¶ 25. Nauta and other Trump employees moved the

    boxes from a ballroom in Mar-a-Lago to a business center in the main building before the boxes

    were later moved to the storage room. Id. ¶¶ 26-31. Nauta brought boxes to Trump’s residence

    for Trump to review and then took the 15 boxes from Trump’s residence to turn them over to

    NARA when Trump was ready there. Id. ¶¶ 39-47. 2 The day before Trump’s meeting with lawyers

    on May 23, 2022, to discuss the grand jury subpoena for documents with classification markings,


           2
             During this process, on December 7, 2021, Nauta found several of Trump’s boxes fallen
    and their contents spilled on the floor of the storage room, and he sent a co-worker photographs,
    including a photograph showing a visibly marked classified document. ECF No. 85 ¶ 32.

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    Nauta retrieved one box from the storage room. Id. ¶¶ 54-56. After the meeting, between May

    24, 2022, and June 1, 2022, Nauta removed approximately 64 boxes from the storage room. Id.

    ¶ 59. Shortly before Trump’s lawyer arrived at Mar-a-Lago to review boxes in the storage room

    for documents responsive to the subpoena, Nauta and codefendant Carlos De Oliveira moved

    approximately 30 boxes into the storage room. Id. ¶¶ 62-63. When the lawyer arrived, Nauta

    escorted the lawyer to the storage room to review the boxes. Id. ¶¶ 64-65. After Trump learned

    about the grand jury subpoena for security footage from Mar-a-Lago, which would show the box

    movement, Trump asked to see Nauta, and Nauta then abruptly changed his travel plans and flew

    to Mar-a-Lago. Id. ¶¶ 74-81. While there, he coordinated with codefendant Carlos De Oliveira,

    who approached the Director of Information Technology at Mar-a-Lago and told him that “the

    boss” wanted the server deleted. Id. ¶¶ 80-87.

           Nauta twice provided statements to investigators during the course of these events, and he

    was less than candid on both occasions. First, he submitted to a voluntary, recorded interview with

    FBI agents on May 26, 2023, with counsel present. Id. ¶¶ 48, 110-12. 3 During that interview,

    Nauta falsely told the agents that he was not aware that boxes had been brought to Trump at his

    residence before the 15 boxes were turned over to NARA; that he did not know how the boxes he

    took from Trump’s residence to turn over to NARA had gotten to Trump’s residence; and that he

    did not know where the boxes had been stored before they were in Trump’s residence and whether

    they had been in a secure or locked location. Id. ¶ 48. Second, Nauta testified before the grand




           3
              Nauta claims that he “cooperated” with the investigation because, in addition to the
    interview and grand-jury appearance described above, he “hand[ed] over two iPhones to federal
    authorities in response to” warrants. Mot. at 9. But Nauta obfuscated and lied to the FBI agents
    and the grand jury, and Nauta cannot claim that he cooperated with the investigation merely
    because he did not resist when agents with validly issued search warrants arrived to seize his
    phones.
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    jury on June 21, 2022. Ex. 1, Mar-a-Lago Search Warrant Aff. ¶ 31. Although he was asked

    whether he had removed anything from the storage room, he did not inform the grand jury that he

    had removed approximately 60 boxes between May 24 and June 1, 2022. Id. ¶ 69. As a result, the

    Government did not discover Nauta’s surreptitious box movement until later, when it obtained

    security camera footage showing his conduct. ECF No. 85 ¶¶ 74-77, 88.

           On May 24, 2023, pursuant to United States Justice Manual § 9-11.151, the Government

    sent a letter to Nauta’s counsel informing him that Nauta was a target of a federal criminal

    investigation into violations of federal criminal laws, including 18 U.S.C. § 1001, § 1512, and

    § 1519, and that Nauta was “a putative defendant.” Def. Ex. 7. The letter informed Nauta’s

    counsel that pursuant to United States Justice Manual § 9-11.153, the letter “constitute[d] notice

    of your client’s status as a target and is intended to afford your client an opportunity to testify

    before the grand jury.” Id. The letter further stated, as relevant here, that “[y]our client is not

    required to accept this invitation to testify; the decision whether to do so is voluntary,” but should

    he choose to appear before the grand jury, “[h]e may refuse to answer any question if a truthful

    answer to the question would tend to incriminate him.” Id.

           Nauta did not accept the offer to appear before the grand jury, and on June 8, 2023, a grand

    jury returned an Indictment charging him with violating and conspiring to violate 18 U.S.C.

    § 1512(b)(2)(A) and 18 U.S.C. § 1512(c)(1), and with violating 18 U.S.C. § 1519, § 1001(a)(1),

    and § 1001(a)(2). On July 27, 2023, a grand jury returned a Superseding Indictment containing

    the same charges against Nauta as in the initial Indictment, as well as a charge of violating 18

    U.S.C. § 1512(b)(2)(B) and an additional charge of violating 18 U.S.C. § 1512(c)(1).




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                                                ARGUMENT

            Nauta argues that the Government selectively and vindictively prosecuted him by bringing

    the indictment against him to “retaliate[] against the exercise of his Fifth Amendment rights.” Mot.

    at 9 (capitalization altered). Nauta’s arguments are legally and factually flawed. Nauta’s selective-

    prosecution claim fails for the threshold reason that he has not identified any similarly situated

    individuals who were not prosecuted; the two comparators he mentions are far different from him.

    Nor does Nauta demonstrate discriminatory purpose or vindictive animus. Nauta apparently

    contends that his decision not to accept the offer in the target letter to appear before the grand jury

    amounted to an exercise of his Fifth Amendment right against self-incrimination. And he appears

    to assert that the Government brought charges against him to punish him for not accepting the offer

    in the target letter. 4 But Nauta’s failure to accept the letter’s offer to appear before the grand jury

    was not an invocation of his right against self-incrimination, and the charges against Nauta

    therefore could not have been a punishment for exercising those rights. And even if the failure to

    accept the letter’s offer to appear before the grand jury were treated as an assertion of his right

    against self-incrimination, Nauta provides nothing but speculation and conjecture to support the

    contention that the charges were brought to punish him for asserting that right. Nauta is not entitled

    to discovery, let alone dismissal of the indictment. The motion should be denied.




            4
              Nauta’s motion states: “While Mr. Nauta declined the prosecution’s request to testify
    before an additional federal grand jury [cite], and such construction that his declination was
    anything other than cooperative would be wholly inaccurate.” Mot. at 9 (no alterations; brackets
    in original). The motion further states: “Accordingly, Mr. Nauta’s declination to testify before a
    federal grand jury should only be lawful assertion of his Fifth Amendment rights to which he is
    guaranteed by right under the U.S. Constitution.” Mot. at 10.

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    I.     Applicable Law5

           The decision to bring charges in a case is subject to a “presumption of regularity,” and,

    with rare exceptions, defendants and courts are precluded from “[e]xamining the basis of a

    prosecution” or “subjecting the prosecutor’s motives and decisionmaking to outside inquiry.”

    United States v. Armstrong, 517 U.S. 456, 464-65 (1996); see Wayte v. United States, 470 U.S.

    598, 607 (1985). Those rare exceptions include cases violating the constitutional prohibitions on

    selective and vindictive prosecution. Selective prosecution occurs when the decision to prosecute

    is “based on an unjustifiable standard such as race, religion, or other arbitrary classification.”

    Armstrong, 517 U.S. at 464 (quotation marks omitted). And vindictive prosecution occurs when a

    “charging decision” or other prosecutorial action is “motivated by a desire to punish [the

    defendant] for doing something that the law plainly allowed him to do.” United States v. Goodwin,

    457 U.S. 368, 384 (1982).

           To prove a claim of selective or vindictive prosecution, a defendant must establish each of

    the constituent elements by “clear and convincing evidence.” United States v. Smith, 231 F.3d 800,

    808 (11th Cir. 2000) (selective prosecution); see United States v. Simbaqueba Bonilla, No. 07-cr-

    20897, 2010 WL 11627259, at *4-5 (S.D. Fla. May 20, 2010) (vindictive prosecution). A claim of

    selective prosecution requires a defendant to “demonstrate [1] that the federal prosecutorial policy

    had a discriminatory effect and [2] that it was motivated by a discriminatory purpose.” Smith, 231

    F.3d at 808 (quotation marks omitted). A vindictive prosecution claim based on a theory of actual

    vindictiveness requires the defendant to demonstrate “that (1) the prosecutor acted with genuine

    animus toward the defendant and (2) the defendant would not have been prosecuted but for that

    animus.” United States v. Wilson, 262 F.3d 305, 314 (4th Cir. 2001); see United States v. Barner,


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               The applicable law has been set forth at greater length at ECF No. 337 at 3-6.

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    441 F.3d 1310, 1322 (11th Cir. 2006) (citing Wilson and stating that the “elements of prosecutorial

    vindictiveness are animus plus causation”).

           To obtain discovery in support of such claims, a defendant must meet a “correspondingly

    rigorous standard,” Armstrong, 517 U.S. at 468, that is “only slightly lower than for proving the

    claim itself,” United States v. Hare, 820 F.3d 93, 99 (4th Cir. 2006) (quotation marks omitted); see

    United States v. Bass, 536 U.S. 862 (2002) (per curiam). That standard requires the defendant to

    make “a credible showing” to support his claim, by providing “some evidence tending to show the

    existence of the essential elements of the defense.” Armstrong, 517 U.S. at 468, 470 (quotation

    marks omitted); see United States v. Cannon, 987 F.3d 924, 937 (11th Cir. 2021).

    II.    Nauta Falls Far Short of Making a Showing of Selective or Vindictive Prosecution

           Nauta fails to satisfy any of the requirements for claims of selective or vindictive

    prosecution. He is entitled to neither dismissal nor discovery.

           A.      Nauta Fails to Identify a Similarly Situated Comparator as Required by the
                   First Prong of the Selective-Prosecution Standard

           The first prong of the selective-prosecution standard requires a showing that “similarly

    situated individuals were not prosecuted,” which requires the defendant to identify a “comparator

    [who] committed the same basic crime in substantially the same manner as the defendant—so that

    any prosecution of that individual would have the same deterrence value and would be related in

    the same way to the Government’s enforcement priorities and enforcement plan—and against

    whom the evidence was as strong or stronger than that against the defendant.” Smith, 231 F.3d at

    809-10. The comparator must “be nearly identical” to the defendant. United States v. Brantley,

    803 F.3d 1265, 1272 (11th Cir. 2015).

           Nauta proposes (Mot. at 12-13) two individuals as comparators, based on their involvement

    in a single incident.    Specifically, in December 2022, some Trump employees, including

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     Per. 10     ,                                                                        , decided to

   organize and clean their workspace at Mar-a-Lago. Ex. 2 at USA-00817569, USA-00817572,

   USA-00817588-91; Ex. 3 at USA-00804285-86, USA-00804288.                Per. 10      decided that a

   box that had been stored under P10 desk could go to off-site storage. Ex. 2 at USA-00817559-61,

   USA-00817568-69, USA-00817572, USA-00817588-89, USA-00817592-93; Ex. 3 at USA-

   00804285, USA-00804288. The box contained Trump’s daily schedule from his presidency, and

     Per. 10         had scanned the contents of the box to P10 computer over a year earlier. Ex. 2 at

   USA-00817528-31, USA-00817552-53. The box was put in the trunk of a car belonging to

      Per. 11                               —with the expectation they it would be taken to off-site

   storage the next day. Ex. 2 at USA-00817589-90; Ex. 3 at USA-00804284-85. Per. 10             later

   decided it would be prudent to wait to send the box to storage because P10 knew Trump’s lawyers

   were in the process of conducting a search related to “this . . . investigation.” Ex. 2 at USA-

   00817591; see Ex. 2 at USA-00817588, USA-00817593-95; Ex. 3 at USA-00804287-88, USA-

   00804290. As a result, the next day, they brought the box back to the office from the trunk of the

   car, where it had remained overnight. Ex. 2 at USA-00817589-90. Trump’s lawyers subsequently

   searched the office and found documents with classification markings in the box, which they

   produced to the Government. Ex. 2 at USA-00817561-66.

          Nauta’s conduct is not remotely comparable to the conduct of either          Per. 10     or

    Per. 11      . Nauta moved scores of boxes out of the storage room before Trump’s attorney

   conducted a search for responsive documents in the storage room, in order to keep the boxes away

   from the attorney so he did not search them. In the incident Nauta relies on as a basis for

   comparison, in contrast,     Per. 10     and Per. 11      moved a single box back into the office—

   with no involvement from Trump—to ensure that Trump’s attorneys would have access to the box.



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   In other words, whereas Nauta’s conduct was intended to obstruct an attorney’s review, the routine

   administrative conduct of Per. 10           and       Per. 11   was intended to facilitate review.

   Moreover, Nauta misled and lied to investigators—in a voluntary interview and in the grand jury—

   and tried to get the Director of Information Technology at Mar-a-Lago to delete security footage

   that would show Nauta moving boxes out of the storage room. By contrast, Nauta does not even

   argue that Per. 10             or Per. 11   engaged in any obstructive conduct.

             Nauta has therefore failed to identify any person who qualifies as a similarly situated

   comparator. Nor does he identify any improper purpose for which the Government might have

   selected him for prosecution rather than the other two Trump employees that he offers as

   comparators. His request for discovery or dismissal on the basis of selective prosecution can and
                                                     P

   should be denied on this basis alone. See Cannon, 987 F.3d at 939.
                                           e
             B.       Nauta Fails to Show Discriminatory Purpose or Actual Vindictiveness
                              r
             Nauta appears to contend (Mot. at 9-11) that the same evidence—a series of innocuous and
                  .
   entirely appropriate events preceding his indictment—demonstrates both animus (for purposes of

   establishing vindictive prosecution) and discriminatory purpose (the second prong of a selective-
    1

   prosecution claim). That evidence falls far short of showing either “animus plus causation,”

   Barner, 441 F.3d at 1322 (vindictive-prosecution standard), or that the prosecutorial

   “decisionmaker” was “motivated by a discriminatory purpose,” United States v. Jordan, 635 F.3d

   1181, 1188 (11th Cir. 2011) (quotation marks omitted) (second prong of a selective-prosecution

   claim).

             Nauta argues (Mot. at 9-11) that the following factual assertions support his claims. On

   May 8, 2023, an attorney for the Government reached out to speak with counsel for Nauta, and

   they arranged to meet over a cup of coffee. Def. Exs. 4, 5. They met the next day as planned, and



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   according to Nauta, they spoke about a potential violation of 18 U.S.C. § 1001, and the prosecutor

   said “that the prosecution would not accept anything less than Mr. Nauta’s full cooperation” and

   declined an offer “to proffer by Mr. Woodward.” Mot. at 10. Subsequently, on May 22, 2023, the

   prosecutor informed Nauta’s counsel that, consistent with their prior conversation, he (Nauta’s

   counsel) would soon be receiving a target letter. See Mot. at 5 (quoting email). As forecasted, the

   Government sent Nauta’s counsel a target letter on May 24, 2023. Def. Ex. 7. 6 Among other

   things, the letter stated that Nauta was the target of a criminal investigation focused on 18 U.S.C.

   § 1001, § 1512, and § 1519. Id. Nauta did not accept the offer to appear before the grand jury,

   and the grand jury returned an indictment on June 8, 2023.

           In Nauta’s view (Mot. at 9-10), these events establish animus and discriminatory purpose

   because (1) his decision not to appear before the grand jury after receiving the target letter was

   akin to invoking his Fifth Amendment right against self-incrimination; and (2) the Government

   brought charges against him to punish him for invoking his Fifth Amendment rights. This

   argument fails both factually and legally. Nauta’s failure to accept the target letter’s offer to appear

   before the grand jury was not an assertion of his right against self-incrimination. “It has long been

   settled that the privilege generally is not self-executing and that a witness who desires its protection

   must claim it.” Salinas v. Texas, 570 U.S. 178, 181 (2013) (quotation marks omitted). Moreover,

   the right against self-incrimination “may be asserted only to resist compelled explicit or implicit

   disclosures of incriminating information.” Doe v. United States, 487 U.S. 201, 212 (1988); see

   Jenkins v. Anderson, 447 U.S. 231, 243-44 (1980) (Stevens, J., concurring) (“When a citizen is

   under no official compulsion whatever, either to speak or to remain silent, I see no reason why his




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           The letter was sent by email at approximately 12:45 a.m. on May 24, 2023, and is dated
   May 23, 2023. See Def. Ex. 7.
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   voluntary decision to do one or the other should raise any issue under the Fifth Amendment.”).

   Nauta was not compelled to appear before the grand jury, let alone testify. The target letter made

   clear that Nauta was “not required to accept this invitation to testify” and “the decision whether to

   do so is voluntary,” and that if he should “choose to appear before the grand jury,” he could “refuse

   to answer any question if a truthful answer to the question would tend to incriminate him.” Def.

   Ex. 7. Even if Nauta’s failure to accept the target letter’s offer to appear before the grand jury

   could be construed as an invocation of his right against self-incrimination, there is no basis to

   conclude that the Government brought charges to punish him for exercising that right. The target

   letter itself informed Nauta that the Government had “substantial evidence linking [Nauta] to the

   commission” of the listed crimes, and that he was “a putative defendant.” Id. A finding of

   vindictive prosecution in these routine circumstances would largely foreclose the use of target

   letters. But such letters are “encouraged,” Justice Manual § 9-11.153, and intended for the benefit

   of the defendant. Nauta’s being charged was not to punish him for exercising his Fifth Amendment

   right against self-crimination or any other constitutional right, and he provides nothing but

   speculation and innuendo to suggest otherwise.

          Nauta’s claim also fails insofar he suggests he was charged because he declined to

   cooperate. As the Supreme Court has explained, although the government may not retaliate against

   a defendant for exercising legal rights, “in the ‘give-and-take’ of plea bargaining, there is no such

   element of punishment or retaliation so long as the accused is free to accept or reject the

   prosecution’s offer.” Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978) (no vindictive prosecution

   when the prosecutor, after the defendant refused to plead guilty to the original charges carrying a

   sentence of two to ten years of imprisonment, indicted the defendant under a recidivist statute

   carrying a mandatory life term). Accordingly, “[w]hen the party refuses to cooperate, prosecution,



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   based upon probable cause to believe the defendant committed the crime charged,” is not

   vindictive. United States v. Boss, 652 F.2d 36, 38 (10th Cir. 1981); see United States v. Davis, 854

   F.3d 1276, 1291 (11th Cir. 2017) (“[The defendant] cites no authority suggesting that the

   government cannot use the threat of prosecution to encourage cooperation, and courts that have

   considered this issue have concluded otherwise.”); United States v. Oliver, 787 F.2d 124, 125-26

   (3d Cir. 1986) (no prosecutorial vindictiveness where federal charges were brought because

   defendant failed to cooperate satisfactorily with local authorities).

          Finally, Nauta’s suggestion (Mot. at 8-9) that a presumption of vindictiveness could

   possibly apply here must be rejected. A defendant may sometimes establish that the circumstances

   of the case pose a realistic likelihood of vindictiveness and therefore warrant a prophylactic

   presumption of vindictiveness in all cases of that type, as occurs, for example, when a prosecutor

   responds to a defendant’s successful appeal by increasing the severity of the charges against him.

   See Goodwin, 457 U.S. at 380-81, 383-84; Alabama v. Smith, 490 U.S. 794, 799-800 (1989);

   United States v. Kendrick, 682 F.3d 974, 982 (11th Cir. 2012). Whether a “presumption can ever

   arise in a pre-trial setting” is unsettled in the Eleventh Circuit, Barner, 441 F.3d at 1318, but a

   presumption would be entirely inappropriate in the circumstances of this case, where the

   Government sent a putative defendant a target letter, the putative defendant did not accept the

   routine offer to appear before the grand jury, and the grand jury returned an indictment charging

   the defendant. If such circumstances were to raise a presumption of vindictiveness, a putative

   defendant who received a target letter could effectively immunize himself by declining to respond.

   A presumption of prejudice in those circumstances would be unprecedented and would effectively

   preclude the issuance of target letters, which are routine and intended to benefit putative

   defendants.



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                                           CONCLUSION

          Nauta has failed to make a showing sufficient to entitle him even to discovery or a

   hearing, much less dismissal, on his claims of selective and vindictive prosecution. His motion

   should be denied.

                                               Respectfully submitted,

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   March 7, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 26, 2024, I electronically transmitted the foregoing document

   to counsel of record for the defendants via CM/ECF.


                                                /s/ Jay I. Bratt
                                                Jay I. Bratt




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